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                             UNITE D STA TES D ISTR ICT CO UR T
                             SO IJT H ER N IIIST RICT O F FL O R IDA

                                 C aSe W O.           G        *
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                                                                           j.
   lnreEmergencyExParteApplicationof
   D A VID A .GO D FREY AN D Y U K O S
                                                                            . (. .Z
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    FINANCEB.    V.foranordertoconduct
    discovery foruse in a foreign proceeding.
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     (PROPOSEDIORDER GM NTING DAVID A.GODFREY'SAND YUKOS FINANCE
    B .V .'S EM ER G ENC Y EX PA R TE A PPLICA TIO N TO CO ND U CT D ISCO V ER Y IN A 1D
                OF A FOREIGN PROCEEDING PURSUANT TO 28U.S.C.$ 1N

             TheApplication foran exparteOrderpursuantto 28U.S.C.j 1782 (iûsaction 1782'5)to
    conduct discovery in aid of a foreign proceeding (the ttApplication'') was heard. By their
    Application,David A.Godfrey and Yukos Finance B.V.(ûtYukos Finance'') (together,the
    ûlpetitioners'')seekdiscoveryfrom respondentStephenP.Lynch(t'Respondenf')inaidofaforeign
    proceeding pursuantto Section 1782 and Rule 45 ofthe FederalRulesofCivilPrtncedure. H aving
    reviewed the Application,the Declaration of RobertF. Seriondated May 1,2017 (tçserio
    Declaration''),andtheDeclaration ofBernard O'Sullivan,dated April28,2017.
                                                                            ,and a11exhibits
    affixed thereto,the Courtrules as follow s:
           The A pplication is G RAN TED . IT IS H EREBY OR DERED ,pursuantto Rule 45 ofthe
    FederalRulesofCivilProcedureand28U.S.C.j1782,(i)PetitionersshallserveStephenP.Lynch
    with a subpoena substantially in the fonn ofthe subpoena duces tecum annexed to the Serio
    Declaration as Exhibit2'
                           n(ii)Stephen P.Lynch shallproduce responsive documentsto such
    subpoenaducestecum on M ay 17,2017,  '(iii)Petitioners shallserve Stephen P.Lynch with a
    subpoena substantially in the form of the subpoena ad testi
                                                              hcandum annexed to the Serio
    DeclarationasExhibit1' ,(iv)StephenP.l-ynchshallappearfordepositiononM ay 17,2017' ,and
    (v)forsuchotherreliefastheCourtdeemsproperandjust.
           ln soruling,theCourtfindsthatthejurisdictionalrequirementsofSection 1782 aremet.
    First, Respondent resides or m ay be found in the Southern D istrict of Florida. Second, the
    discovery sought is foruse in proceedings currently pending before a foreign tribunal,the H igh
    CotlrtofJustice,Queen'sBench Division.CommercialCourt,in London,England (theûtEnglish
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    ProceedingsD-).'l-hird,aslitigantsintheEnglishProceedings,Petitionersare--interestedpersongsl''
    w ithin the naeaning of Section 1782.
           The Court further tinds that the discretionary factors established by the United States
    StlpremeCourtinlntelCorp.v.AdvancedMicro Devices,lnc.,542U.S.241,249(2004),weigh
    in flqvorof granting the Application. Those factorsare:(1)whetherthe person from whom
    discoveryissoughtisaparticipantinthe foreign proceeding;(2)thereceptivity ofthe foreign
    tribunalto federal-courtassistance;(3)whetherthe requestconcealsan attemptto circumvent
    foreignlaw,policy,orproof-gatheringrestrictions'
                                                   ,and(4)whethertherequestisundulyintrusive
    orburdensom e. Id.
           The Courtfindsthatthe firstIntelf'
                                            àctorweighsin favorofPetitionersbecause Respondent
    has actively avoided participation in English Proceedingsand the English courtm ay notbe able to
    com pelRespondentto provide the discovery that Petitioners seek. Second,the Courtfinds that
    the English courtlikely w ould acceptthe discovery soughthere because English courts typically
    acceptevidenceobtained through Section 1782,particularly deposition and documentary evidence
    relevantto liability. Third,the Courtt-
                                          indsthat,based on theevidencesubluitted,theApplication
    isagood-faith effortto obtain probative evidence and doesnotconcealan attemptto circumvent
    English proof-gathering restrictions,law ,.
                                              orpolicy.See Intel,542 U .S.at261,In re Pim enta,942
    F.Supp.2d 1282,1289(S.D.Fla.2013).Finally,theCourttindsthatthediscoverysoughtisnot
    unduly burdensom e orunnecessarily intrusive,the discovery requestgoesto centralissues in the
    English Proceedings, and the discovery would be pennitted under the Federal Rules of Civil
    Procedure.



    IT IS SO O RD ER ED


    D ated:M ay      ,2017
                                                               U nited States D istrictJudge




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